                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


UNITED STATES OF AMERICA                            )
                                                    )       Case No. 4:12-cr-15
v.                                                  )
                                                    )       MATTICE / LEE
CHAD A. MELTON                                      )

                                           ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the five-count

Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) Defendant remain on bond under

appropriate conditions of release until his intensive outpatient treatment or his residence at the

OASIS halfway house is terminated, whichever occurs first. [Doc. 62]. Neither party filed a timely

objection to the report and recommendation. After reviewing the record, the Court agrees with the

magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

the magistrate judge’s report and recommendation [Doc. 62] pursuant to 28 U.S.C. § 636(b)(1) and

ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment;




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      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

            pending sentencing in this matter which is scheduled to take place on Monday,

            October 1, 2012 at 9:00 a.m. before the Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:


                                                     /s/Harry S. Mattice, Jr.
                                                     HARRY S. MATTICE, JR.
                                                UNITED STATES DISTRICT JUDGE




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